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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION


UNITED STATES OF AMERICA


     V.                                        OR 119-052


DIANE FREEMAN and STEVEN
FREEMAN




                                ORDER




     Defendants Steven and Diane Freeman, husband and wife, are

currently on bond in this case awaiting sentencing.              They live in

the Western District of Texas.     They also have property in Houston,

Texas in the Southern District of Texas, which was heavily damaged

by Hurricane Harvey and in need of repair.           The Houston property

is a six-hour round-trip drive for the Freemans from their current

residence.


     At   present,   the    Freemans   wish   to   travel   to   the   Houston

property to effect necessary repairs, but they are hindered by the

curfew condition.      On   July 15, 2019,     Defendant Diane         Freeman,

through counsel, filed a Motion to Modify Conditions of Release on

Bond, whereby she seeks to be allowed to travel to the Southern

District of Texas and remain there up to a week at a time.^

     Upon due consideration and consultation with this district's

probation office, the Motion to Modify Conditions of Release of



1 The motion is ambiguous as to whether Steven Freeman seeks the
same modification although much of the motion refers to both
Defendants.
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Bond (doc. 62) is GRANTED IN PART.     Both Steven and Diane Freeman's

Conditions of Release are hereby modified to allow them to travel

to the Southern District of Texas to effect necessary repairs to

their Houston property for a continuous period of three days and

three nights at a time.     The Freemans must provide prior notice of

their intent to do so to the United States Pretrial Services Office

in the Western District of Texas.


     The Clerk is directed to docket this Order as to both Steven

and Diane Freeman and to provide a copy of the Order to Mr. Enoch

Eller,   United   States   Probation   Officer,     Southern   District   of

Georgia.

     ORDER ENTERED at Augusta, Georgia, this                   day of July,

2019.




                                        J. RAmDALiRALL, CHIEF JUDGE
                                        UNITED ^TATES DISTRICT COURT
                                               IN   DISTRICT OF GEORGIA
